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17    Attorneys for Plaintiffs PUBG Corporation and
      PUBG Santa Monica, Inc.
18
                                 UNITED STATES DISTRICT COURT
19
                                NORTHERN DISTRICT OF CALIFORNIA
20
                                        OAKLAND DIVISION
21
   PUBG Corporation and PUBG Santa Monica,            Case No. 4:18-cv-02010-JSW
22 Inc.
                                                      JOINT STIPULATION AND [PROPOSED]
23                Plaintiffs,                         ORDER RESPECTING SETTLEMENT
                                                      AND DENYING MOTION TO DISMISS
24         v.
                                                      WITHOUT PREJUDICE
25 NetEase, Inc., NetEase Information
   Technology Corporation, and Hong Kong
26 NetEase Interactive Entertainment Limited,

27                Defendants.

28

         JOINT STIPULATION AND [PROPOSED] ORDER RESPECTING SETTLEMENT,
                            CASE NO. 4:18-CV-02010-JSW
       Case 4:18-cv-02010-JSW Document 100 Filed 03/18/19 Page 2 of 4



 1         Plaintiffs PUBG Corporation and PUBG Santa Monica, Inc. (collectively “PUBG”) and

 2 Defendants NetEase, Inc., NetEase Information Technology Corporation, and Hong Kong NetEase

 3 Interactive Entertainment Limited (collectively “NetEase”), by and through their respective

 4 attorneys, hereby enter the following stipulation and proposed order:

 5         WHEREAS, the parties have settled this matter, pursuant to a settlement agreement dated

 6 effective as of March 11, 2019 (“the Agreement”);

 7         WHEREAS, the Agreement requires the completion of certain actions before this action may

 8 be dismissed with prejudice;

 9         WHEREAS, the parties wish to avoid unnecessary expenditure of the Court’s time in the

10 interim;

11         NOW THEREFORE, PUBG and NetEase hereby stipulate and agree, and request that the

12 Court enter an order as follows:

13             •   All deadlines in this action are stayed through April 12, 2019; and

14             •   On or before April 12, 2019, the parties shall submit either a Stipulation of Dismissal
                   with Prejudice and [Proposed] Order, or a joint statement as to why the action may
15                 not be dismissed pursuant to the Agreement.
16
           SO STIPULATED AND AGREED.
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          JOINT STIPULATION AND [PROPOSED] ORDER RESPECTING SETTLEMENT,
                             CASE NO. 4:18-CV-02010-JSW
      Case 4:18-cv-02010-JSW Document 100 Filed 03/18/19 Page 3 of 4



 1 DATED: March 15, 2019             By /s/ Rollin A. Ransom
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        JOINT STIPULATION AND [PROPOSED] ORDER RESPECTING SETTLEMENT,
                           CASE NO. 4:18-CV-02010-JSW
       Case 4:18-cv-02010-JSW Document 100 Filed 03/18/19 Page 4 of 4



 1                                      [PROPOSED] ORDER
 2 Pursuant to the parties’ stipulation, IT IS SO ORDERED. The Court denies, without prejudice,
   Defendant's pending motion to dismiss. Defendant may renew the motion if the parties do not finalize
 3        IT IS SO ORDERED. the settlement.
 4
           March 18, 2019
 5 Dated: _____________________

 6                                                    The Honorable Jeffrey S. White
                                                      United States District Court Judge
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          JOINT STIPULATION AND [PROPOSED] ORDER RESPECTING SETTLEMENT,
                             CASE NO. 4:18-CV-02010-JSW
